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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      August 8, 2022

BY ECF

Honorable Lorretta A. Preska
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:     United States v. Ishan Wahi, et al., No. 22 Cr. 392 (LAP)

Dear Judge Preska:

        The Government writes on behalf of the parties to respectfully request that the Court enter
an order pursuant to Federal Rule of Criminal Procedure 5(f) “that confirms the disclosure
obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and the
possible consequences of violating such order under applicable law.” Because the defendants in
this case were first presented outside of the District, no such order was entered by the magistrate
judge, as would be customary in this District. As Rule 5(f) requires a written and oral order, the
parties respectfully request that the Court issue a written order, and at the next conference issue an
oral order.

                                               Respectfully submitted,

                                               DAMIAN WILLIAMS
                                               United States Attorney

                                           by: /s/
                                              Nicolas Roos
                                              Noah Solowiejczyk
                                              Assistant United States Attorneys
                                              (212) 637-2421 / -2473


Cc:    Defense Counsel (by ECF)
